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                               Exhibit K
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      Qualcomm, headquartered in San Diego, California, is the world leader in 3G, 4G, and
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     Wireless Reach U.S.: AR in
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     Qualcomm® Wireless Reach™ brings advanced wireless technologies to underserved
     communities globally, with programs that strengthen economic and social
     development.


     Wireless Reach has teamed up with School in the Park (SITP), The San Diego Museum
     of Art, the San Diego Zoo, and the San Diego History Museum to develop unique
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     educational Augmented Reality(AR) experiences through 3G-connected mobile
     devices to enhance teaching and engage students. By supporting learning in informal
     settings, museums and educational institutions in San Diego’s Balboa Park are helping



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     students to understand focal topics and draw connections between what they are
     learning in class and the real world.


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